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                                                                                           FILED
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    --------------------------------------------------------·X
    DAVIDSOLL,                                                                      BROOKLYf'l OFFICE
                                                                          STIPULATION OF
                                                           Plaintiff,     SETTLEMENT AND ORDER OF
                                                                          DISMISSAL
                               -against-
                                                                          II CV214 3 (ENV) (VVP)
    THE CITY OF NEW YORK, P.O. TERRANCE
    SMALLS, Tax 939481, Individually and in his
    Official Capacity, P.O. LLOYD HANSON Shield
    No. 14534, Individually and in his Official Capacity,
    and P.O.'s "JOHN DOE" #1-10, Individually and in
    their Official Capacity (the name John Doe being
    fictitious, as the true names are presently unknown),

                                                       Defendants.
    -----------------------------------------------------------------·X

                     WHEREAS, plaintiff commenced this action by filing a complaint on or about

    May 3, 2011, alleging that the defendants violated plaintiffs federal civil and state common law

    rights; and

                     WHEREAS, defendants City, Officer Terrance Smalls and Officer Lloyd

    Hanson have denied any and all liability arising out of plaintiffs allegations; and

                     WHEREAS, the parties now desire to resolve the issues raised in this litigation,

    without further proceedings and without admitting any fault or liability; and

                     WHEREAS, plaintiff has authorized his counsel to settle this matter on the terms

    set forth below;

                     NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by

    and between the undersigned, as follows:
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                    1.      The above-referenced action is hereby dismissed against defendants, with

     prejudice, and without costs, expenses, or attorneys' fees in excess of the amount specified in

     paragraph "2" below.

                    2.      Defendant City ofNew York hereby agrees to pay plaintiff David Soli the

     sum of Eighteen Thousand ($18,000.00) Dollars in full satisfaction of all claims, including

     claims for costs, expenses and attorneys' fees. In consideration for the payment of this sum,

     plaintiff agrees to dismissal of all the claims against the defendants and to release the defendants

     and any present or former employees and agents of the City of New York or any entity

     represented by the Office of the Corporation Counsel, from any and all liability, claims, or rights

     of action alleging a violation of plaintiffs civil rights, from the beginning of the world to the

     date of the General Release, including claims for costs, expenses, and attorneys' fees.

                   3.       Plaintiff shall execute and deliver to defendant City of New York's

    attorney all documents necessary to effect this settlement, including, without limitation, a

    General Release based on the terms of paragraph 2 above and an Affidavit of Status of Liens. If

    Medicare has provided payment and/or benefits for any injury or condition that is the subject of

    this lawsuit, prior to tendering the requisite documents to effect this settlement, plaintiff shall

    have notified Medicare and shall submit with the settlement documents a Medicare final demand

    letter for conditional payments. A Medicare Set-Aside Trust may also be required if future

    anticipated medical costs are found to be necessary pursuant to 42 U.S.C. § 1395y(b) and 42

    C.F.R. §§ 411.22 through 411.26.

                   4.       Nothing contained herein shall be deemed to be an admission by the

    defendants that they have in any manner or way violated plaintiffs rights, or the rights of any

    other person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of




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    the United States, the State of New York, or the City of New York or any other rules or

     regulations of any department or subdivision of the City of New York. This stipulation shall not

    be admissible in, nor is it related to, any other litigation or settlement negotiations.

                   5.      Nothing contained herein shall be deemed to constitute a policy or practice

    of the City of New York or any agency thereof.

                   6.      Plaintiff agrees to hold harmless defendants regarding any liens or past

    and/or future Medicare payments, presently known or unknown, in connection with this matter.

    If conditional and/or future anticipated Medicare payments have not been satisfied, defendants

    reserve the right to issue a multiparty settlement check naming Medicare as a payee or to issue a

    check to Medicare directly based upon Medicare's final demand letter.

                   7.      This Stipulation and Order contains all the terms and conditions agreed

    upon by the parties hereto, and no oral agreement entered into at any time nor any written

    agreement entered into prior to the execution of this Stipulation and Order regarding the subject

    matter of the instant proceeding shall be deemed to exist, or to bind the parties hereto, or to vary

    the terms and conditions contained herein.




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     Dated: New York, New York
            ~ 2           ,2012


     Cohen & Fitch LLP                        MICHAEL A. CARDOZO
     Attorneys for Plaintiff                  Corporation Counsel of the
     225 Broadway, Suite 2700                   City ofNew York
     New York, NY 10007                       Attorney for Defendants City, Smalls and
                                              Hanson
                                              100 Church Street, Rm. 3-155


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           1~1                                HON. ERIC N VITALIANO
     Dated: He   lf &, New York               UNITED STATES DISTRICT JUDGE
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                   MAR 1 5 2012




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